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 THIS ORDER IS SIGNED AND ENTERED.

 Dated: August 7, 2023




                                              __________________________________
                                              Hon. Catherine J. Furay
                                              United States Bankruptcy Judge




                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WISCONSIN


In re:                                                Chapter 7

Megan Kurtz,
                                                     Case No. 22-11903
         Debtor.


Megan Marie Kurtz,

                            Plaintiff,               Adversary No. 23-00006-cjf

vs.

United States Department of Education,

and

SoFi Lending Corporation,

                            Defendants.


  ORDER DISMISSING ADVERSARY PROCEEDING AGAINST DEFENDANT SOFI
                      LENDING CORPORATION
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       Upon the stipulation of the parties filed herein, and this Court being fully advised in the

premises, this adversary proceeding against Defendant SoFi Lending Corporation is hereby

DISMISSED, with prejudice, and without costs to any party.

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